  Case 2:21-mc-01118-PA-RAO Document 10-3 Filed 02/23/22 Page 1 of 1 Page ID #:113

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                                                    UNITED STATES DISTRICT COURT
                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                             CASE NUMBER
    In Re the Petition of
                                                                                                 21-mc-01118-PA-RAOx
    Mobilboxx Europe GmbH
    For Discovery in Aid of a
    Foreign Proceeding Pursuant to                                                 (PROPOSED) ORDER ON APPLICATION
    28 U.S.C. § 1782                                                             OF NON-RESIDENT ATTORNEY TO APPEAR
                                                                                     IN A SPECIFIC CASE PRO HAC VICE

The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hae Vice filed by
Simms, John S.                                                              of
Applicant's Name (Last Name, First Name & Middle Initial)
443-2908704                     410-510-1789
Telephone Number                Fax Number
jssimms@simmsshowers.com
                       E-Mail Address                                            Firm/Agency Name & Address
for permission to appear and participate in this case on behalf of
Mobilboxx Europe GmbH



Name(s) of Party(ies) Represented                                        D Plaintiff(s) D Defendant(s) IZI Other:       Petitioner
and designating as Local Counsel
Crose, John A. Jr.                                                         of
Designee's Name (Last Name, First Name & Middle Initial)
     115594             310-416-1990            (no fax)
Designee's Cal. Bar No.         Telephone Number          Fax Number
jcrose@icclawfirm.com
                                E-Mail Address                                   Firm/Agency Name & Address
 HEREBY ORDERS THAT the Application he:
 □ GRANTED.
 D DENIED: D for failure to pay the required fee.
           D for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
           D for failure to complete Application: ___ ____________________
           D pursuant to L.R. 83-2.1.3.2: D Applicant resides in California; D previous Applications listed indicate Applicant
                           is regularly employed or engaged in business, professional, or other similar activities in California.
                     D     pursuant to L.R. 83-2.1.3.4; Local Counsel: D is not member ofBar of this Court; D does not maintain office in District.
                     D because ---------------------------------­
 IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid:                                       □ be refunded □ not be refunded.
 Dated
                                                                                    U.S. District Judge/U.S. Magistrate Judge
G-64 ORDER (5/16)
                                                   ..
                          (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE           Page 1 ofl
